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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
         v.                                  : MAGISTRATE NO. 21-MJ-13 (GMH)
                                             :
RICHARD BARNETT,                             :
     Defendant.                              :


                                            ORDER

         Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Richard Barnett

         It is this _________ day of January, 2021,

         ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the Western District of Arkansas Magistrate Judge on January 15, 2021

as to defendant Richard Barnett is STAYED pending review of the detention decision by this

Court.




                                             BERYL A. HOWELL
                                             CHIEF JUDGE, UNITED STATES DISTRICT
                                             COURT FOR THE DISTRICT OF COLUMBIA




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